                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA            )                    DOCKET NO. 3:10cr124
                                    )
            vs.                     )                    ORDER
                                    )
(4) STEPHEN E. CARR                 )
____________________________________)

        THIS MATTER is before the Court on the Government’s “Motion for Revocation and for

Stay, as Necessary, of Order of Release,” filed September 9, 2010. On or about August 26, 2010,

the defendant was brought before a Magistrate Judge in the Northern District of Georgia for his

initial appearance. On or about August 30th and September 8, 2010, detention hearings were held,

and a Magistrate Judge from the Northern District of Georgia ordered the defendant released on

bond.

        Pursuant to 18 U.S.C. § 3145(a)(1), this Court will stay the Magistrate Judge’s release order

pending a ruling by this Court on the Government’s motion to revoke the release order.

        IT IS, THEREFORE, ORDERED that the Government’s motion to stay is hereby

GRANTED, and the defendant shall be DETAINED until further order of this Court. The Court will

notify the parties at a later date if a hearing in this matter is necessary.

        The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshal Service, and the United States Attorney's Office.



                                                    Signed: September 15, 2010




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